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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION
  ALLIANCE LAUNDRY SYSTEMS LLC,

                Plaintiff,
                                                      Case No. 23-cv-22130 (MCR)
        v.

  TRUDY ADAMS, JOHN “CLAY” WILLIAMS
  and AUTARKIC HOLDINGS, INC. D/B/A
  LAUNDRYLUX,

                Defendants.


  TRUDY ADAMS, JOHN “CLAY” WILLIAMS, DECLARATION OF DAVID
                                               WATNICK IN SUPPORT
           Defendants/Counterclaim Plaintiffs, OF DEFENDANTS’
                                               MOTION TO STRIKE
      v.
                                               EXPERT DECLARATION
  ALLIANCE LAUNDRY SYSTEMS LLC,                OF MARK LANTERMAN
                                               AND EXCLUDE
           Plaintiff/Counterclaim Defendant/ LANTERMAN’S
           Third Party Defendant.              TESTIMONY




       I, David Watnick, an attorney duly admitted to practice in the State of Oregon

 and pro hac vice in the District Court for the Northern District of Florida, declare

 under penalty of perjury and pursuant to 28 U.S.C. § 1746, that the following is true

 and correct:

       1.       I am a counsel at the firm Perkins Coie LLP, counsel for Defendant

 Autarkic Holdings, Inc. d/b/a Laundrylux (“Laundrylux”) in the above-captioned


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 matter. I am familiar with the facts and circumstances of this action. I make this

 declaration in support of Laundrylux’s Motion to Strike Expert Declaration of Mark

 Lanterman and Exclude Lanterman’s Testimony.

       2.     In support of Laundrylux’s Motion to Strike the Expert Declaration of

 Mark Lanterman and Exclude Lanterman’s Testimony, annexed hereto are true and

 correct copies of the exhibits identified therein.

       3.     Attached as Exhibit 1 is the sworn Expert Declaration of Mark

 Lanterman, disclosed on June 21, 2024. On the afternoon of March 14, 2025,

 Alliance designated certain materials reflected in Exhibit 1 as “Highly Confidential

 – Attorneys’ Eyes Only.” Those materials have been redacted and withheld from the

 publicly filed copy of Exhibit 1; an unredacted copy of the exhibit will be submitted

 under seal. Laundrylux reserves the right to challenge Alliance’s designations.

       4.     Attached as Exhibit 2 is the sworn Amended Expert Declaration of

 Mark Lanterman, disclosed on January 10, 2025. On the afternoon of March 14,

 2025, Alliance designated certain materials reflected in Exhibit 2 as “Highly

 Confidential – Attorneys’ Eyes Only.” Those materials have been redacted and

 withheld from the publicly filed copy of Exhibit 2; an unredacted copy of the exhibit

 will be submitted under seal. Laundrylux reserves the right to challenge Alliance’s

 designations.




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       5.     Attached as Exhibit 3 are relevant excerpts of the transcribed

 videotaped sworn Deposition of Mark Lanterman, taken on February 11, 2025, via

 Zoom. Plaintiff Alliance has designated the entire deposition transcript

 “CONFIDENTIAL” under the Protective Order on file in this matter, Dkt. 33.

 Accordingly, Laundrylux is filing the transcript excerpts under seal, filing its Motion

 to Strike under seal, and redacting quotations of the transcript from the publicly filed

 copy of its Motion. Laundrylux disagrees that any portion of the transcript merits

 “CONFIDENTIAL” designation or sealing and intends to challenge Alliance’s

 designations and/or oppose any motion by Alliance to keep the transcript under seal.

       6.     Attached as Exhibit 4 are Alliance’s Reponses to Laundrylux’s

 Request for Production of Documents, dated January 27, 2025.

       7.     Attached as Exhibit 5 is an article from the New York Times regarding

 Upsala College, titled After a Century, Upsala Will Close Without Cash Rescue,

 dated March 3, 1995.

       8.     Attached as Exhibit 6 is an article from the New York Times regarding

 Upsala College, titled In Brief; The Doors Are Closed At Upsala College, dated June

 4, 1995.

       9.     Attached as Exhibit 7 is the Felician University webpage regarding

 Upsala College Transcripts, available at https://felician.edu/academics/office-of-

 the-registrar/upsala-transcripts/.



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       10.    Attached as Exhibit 8 is an email chain ending January 16, 2025,

 between the Felician University’s registrar’s office to Perkins Coie LLP regarding a

 request for Mark Lanterman purported college transcripts.

       11.    Attached as Exhibit 9 is a February 15, 2006, article from the

 Minneapolis Star Tribune titled Electronic sleuth turns spicy bytes into business

 feast; A tech-savvy former police officer’s firm specializes in gathering electronic

 data for evidence in court cases.

       12.    Attached as Exhibit 10 is a copy of Upsala University’s 1987 Upsalite

 yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

 Library located in East Orange, New Jersey.

       13.    Attached as Exhibit 11 is a copy of Upsala University’s 1988 Upsalite

 yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

 Library located in East Orange, New Jersey.

       14.    Attached as Exhibit 12 is a copy of Upsala University’s 1989 Upsalite

 yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

 Library located in East Orange, New Jersey.

       15.    Attached as Exhibit 13 is a copy of Upsala University’s 1990 Upsalite

 yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

 Library located in East Orange, New Jersey.




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       16.    Attached as Exhibit 14 is Upsala University’s commencement program

 for the academic year ending in 1987, provided to Perkins Coie LLP library staff by

 the archivist at the Swenson Swedish Immigration Research Center at Augustana

 College in Rock Island, Illinois, where the program and other Upsala records are

 preserved.

       17.    Attached as Exhibit 15 is Upsala University’s commencement program

 for the academic year ending in 1988, provided to Perkins Coie LLP library staff by

 the archivist at the Swenson Swedish Immigration Research Center at Augustana

 College in Rock Island, Illinois, where the program and other Upsala records are

 preserved.

       18.    Attached as Exhibit 16 is Upsala University’s commencement program

 for the academic year ending in 1989, provided to Perkins Coie LLP library staff by

 the archivist at the Swenson Swedish Immigration Research Center at Augustana

 College in Rock Island, Illinois, where the program and other Upsala records are

 preserved.

       19.    Attached as Exhibit 17 is Upsala University’s commencement program

 for the academic year ending in 1990, provided to Perkins Coie LLP library staff by

 the archivist at the Swenson Swedish Immigration Research Center at Augustana

 College in Rock Island, Illinois, where the program and other Upsala records are

 preserved



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       20.    Attached as Exhibit 18 are relevant excerpts of the University of

 Minnesota 1985-1986 Student-Staff Directory, available at the University of

 Minnesota website at https://conservancy.umn.edu/items/e9d2b595-1b72-44fe-

 a2ba-eefcdbe3db5f.

       21.    Attached as Exhibit 19 are relevant excerpts of Lanterman’s

 transcribed sworn May 2, 2017, deposition testimony in the matter of Lanterman v.

 Stillman, Minnesota Department of Human Services, Civil File No. 27-CV-16-

 10860, Minn. 4th Jud. Dist. Ct.

       22.    Attached as Exhibit 20 is an email chain ending February 13, 2025,

 between Lanterman and Michael Pitkow, Chief of the Springfield Township,

 Pennsylvania Police Department.

       23.    Attached as Exhibit 21 is an email chain ending on February 28, 2025,

 between Lanterman and Chief Pitkow.

       24.    I spoke by phone with Chief Pitkow on February 27 and February 28,

 2025. During those calls, he relayed to me that Lanterman visited the Springfield

 Township, Pennsylvania Police Department on February 14, 2025, requesting to see

 Lanterman’s personnel file from the time he worked as an officer in the department.

 According to Pitkow, Lanterman claimed to have a grave heart condition, and was

 instructed by his physician to “get [his] affairs in order.” Lanterman further stated

 that he was therefore eager to show his family information about his early career in



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 law enforcement, and asked if he could take the file with him because he needed to

 catch a flight back to Minnesota. Lanterman left the department with his file and

 promised to return it.

       25.    I spoke with Chief Pitkow again on March 12, 2025. He told me that,

 although he had been requesting Lanterman return his file to the Police Department

 since February 27, 2025, he had not received any returned file.


 I declare under penalty of perjury that the foregoing is true and correct.



  Dated: March 14, 2025                     /s/ David Watnick
                                            David Watnick (admitted pro hac vice)
                                            DWatnick@perkinscoie.com
                                            PERKINS COIE LLP
                                            1120 N.W. Couch Street, Tenth Floor
                                            Portland, Oregon 97209-4128
                                            Telephone: 503.727.2000

                                            Attorney for Defendant Autarkic
                                            Holdings, Inc. d/b/a Laundrylux




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